     Case 2:10-cr-00365-JCM-PAL            Document 161      Filed 01/12/12     Page 1 of 1




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 5
                                  UNITED STATES DISTRICT COURT
 6
                                           DISTRICT OF NEVADA
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                                                   ***
 8
     UNITED STATES OF AMERICA,         )
 9                                     )
               Plaintiff,              )
10                                     )
   vs.                                 )                  2:10-cr-365-JCM-PAL
11                                     )
   BRAD FUSSELL,                       )
12                                     )
               Defendant.              )                        ORDER
13 ____________________________________)
14
            On January 11, 2012, the court granted Paul Riddle’s oral motion to be relieved as counsel
15
     and that new counsel be appointed for the purpose of appeal (#159). Therefore;
16
            IT IS HEREBY ORDERED that Beau Sterling is appointed in place of the Federal Public
17
     Defender for the purpose of appeal.
18
            IT IS FURTHER ORDERED that the Federal Public Defender shall forward the file to
19
     Mr. Sterling forthwith.
20
21
            DATED this 12th       day of January, 2012.
22
            NUNC PRO TUNC: January 11, 2012
23
24
                                                          ___________________________________
25                                                        JAMES C. MAHAN
                                                          United States District Judge
26
27
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